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               IN THE UNITED STATES DISTRICT COURT
          IN AND FOR THE SOUTHERN DISTRICT OF FLORIDA


PATRICK AMORIELLO,                           CASE NO.:

             Plaintiff,

VS.

OCWEN LOAN SERVICING, LLC

             Defendant.



   PLAINTIFF PATRICK AMORIELLO’S COMPLAINT FOR DAMAGES
                          AND DEMAND FOR JURY TRIAL


       COMES NOW Plaintiff, PATRICK AMORIELLO, by and through
 undersigned counsel, and hereby brings this action against Defendant, OCWEN
 LOAN SERVICING, LLC, and in support thereof states the following:
                              NATURE OF ACTION

       1. This is an action brought pursuant to 12 C.F.R. §1024 et seq. [Real Estate

          Settlement Procedures Act (“Regulation X”)].

                       PARTIES JURISDICTION AND VENUE
       1. Plaintiff,    PATRICK   AMORIELLO         (hereinafter   referred   to   as

          “AMORIELLO”), is a natural person who at all relevant times resided in

          Broward County, Florida and has maintained property located at 11823

          Highland Place, Coral Springs, FL 33071 (herein after the “Property”)


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          as Plaintiff’s primary residence.

       2. Defendant, OCWEN HOME MORTGAGE, (hereinafter referred to as

          “OCWEN”) has at all relevant times transacted business in the State of

          Florida and is a servicer of a note (the “Note”) and a mortgage on the

          Property that allegedly secures the Note (the “Mortgage) (collectively

          referred to hereinafter as the “Loan”).

       3. Jurisdiction and Venue are proper pursuant to 28 U.S.C. § 1331 as this

          action arises from the Dodd Frank Wall Street Reform and Consumer

          Protection Act (“DFA”) and the Real Estate Settlement Procedures Act,

          12 U.S.C. § 2601, et seq. (“RESPA”).

       4. This action is specifically filed to enforce regulations promulgated by the

          Consumer Finance Protection Bureau (“CFPB”) that became effective of

          January 10, 2014 specifically, 12 C.F.R. § 1024.36 of Regulation X and

          12 C.F.R. §1024.41 of Regulation X.

       5. This Court has supplemental jurisdiction to hear any and all state law

          claims pursuant to 28 U.S.C. § 1367.

       6. OCWEN is a “servicer” as defined by 12 C.F.R. 1024.2.

                                INTRODUCTION

       7. Plaintiff restates and incorporates herein all of his statements and

          allegations contained in the preceding paragraphs in their entirety, as if


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          fully rewritten.

       8. In January 2013, the CFPB issued a number of final rules concerning

          mortgage markets in the United States, pursuant to the DFA, Public Law

          No. 111-203, 124 Stat. 1376 (2010).

       9. Specifically, on January 17, 2013, the CFPB issued the RESPA

          (Regulation X) and TILA (Regulation Z) Mortgage Servicing Final

          Rules, 78 F. R. 10901 (February 14, 2013) and 78 F.R. 10695 (Regulation

          X) (February 14, 2013), which became effective on January 10, 2014.

       10.The loan in the instant matter is a “federally related mortgage loan” as

          said term is defined by 12 C.F.R. § 1024.2(b).

       11.Defendant is the subject to the aforesaid Regulations and does not qualify

          for the exception for “small servicers” as such term is defined in 12

          C.F.R. § 1026.41(e)(4), nor for the exemption for a “qualified lender” as

          such term is defined in 12 C.F.R. §617.100.

       12. Plaintiff is asserting a claim for relief against Defendant for breach of the

          specific rules under Regulation X and Regulation Z as set forth below.

       13. Plaintiff has a private right of action under RESPA pursuant to 12 U.S.C.

          §2605(f) for the claimed breaches and such action provides for remedies

          including actual damages, costs, statutory damages, and attorneys’ fees.




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                           FACTUAL ALLEGATIONS

       14.On February 10, 2017, AMORIELLO executed a Mortgage and Note in

          favor of Homeward Residential, Inc. (Mortgage attached hereto as

          Exhibit “A”).

       15.In an effort to evaluate his loan and explore all options moving forward,

          AMORIELLO wished to gather information pertaining to his loan so as

          to analyze the payment history against a payoff and otherwise make sure

          that her loan was serviced correctly.

       16.On May 1, 2017, AMORIELLO, through the undersigned counsel,

          submitted a written Request for Information to OCWEN, via certified

          mail requesting the following information: (i) the name of the owner or

          assignee of my client’s mortgage loan; (ii) the address and telephone

          number for the owner or assignee of my client’s mortgage loan; (iii) the

          name, position, and address of an officer of the entity that is the owner of

          the above-referenced loan;     (iv) a complete payment history of my

          client’s loan; (v) an accounting of all interest and escrow payments made

          by my client and how they were applied to the outstanding balance; and

          (vi) the date the current owner acquired the loan; and (vii) any other

          relevant information for the owner or assignee of the above-referenced

          loan. (A copy of Request for Information is attached hereto as Exhibit


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          “B”).

       17.The May 1, 2017 Request for Information was received by OCWEN on

          May 4, 2017.

       18.As the May 1, 2017 Request for Information was received by OCWEN

          on May 4, 2017, OCWEN was required to provide an acknowledgment

          of receipt of the Request for Information on or before May 11, 2017.

       19.As the May 1, 2017 Request for Information was received by OCWEN

          on May 4, 2017, and because the substance of the request was regarding

          ownership of the loan, OCWEN was required to provide a response

          regarding the identity of the owner of the loan on or before May 18,

          2017.

       20.As the May 1, 2017 Request for Information was received by OCWEN

          on May 4, 2017, OCWEN was required to provide a full response to the

          remaining requests in the Request for Information on or before June 16,

          2017.

       21.OCWEN sent a letter to the undersigned in response to the May 1, 2017

          Request for Information which was dated May 15, 2017—five days past

          the statutorily required deadline—which did not acknowledge receipt of

          the Request for Information and only stated that attorney representation

          was added to the account.


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       22.However, OCWEN failed to provide any response to the May 1, 2017

          Request for information on or before June 16, 2017.

       23.In a Notice of Error (sent through the undersigned counsel) dated June

          29, 2017 sent via certified mail, AMORIELLO informed OCWEN of its

          error of failing to respond to the May 1, 2017 Request for Information.

          (A copy of the June 29, 2017 Notice of Error is attached hereto as

          “Exhibit C”).

       24.The June 29, 2017 Notice of Error was received by OCWEN on July 17,

          2017.

       25.OCWEN failed to provide an acknowledgement of the June 26, 2017

          Request for Information.

       26. As the June 29, 2017 Notice of Error was received by OCWEN on July

          1, 2017, OCWEN was required to provide a response regarding the

          identity of the owner of the loan on or before July 31, 2017.

       27.As the June 29, 2017 Notice of Error was received by OCWEN on July

          17, 2017, OCWEN was required to provide a full response on or before

          August 28, 2017.

       28. In a letter dated July 20, 2017, OCWEN issued an acknowledgement of

          receipt of the June 26, 2017 Notice of Error, however the letter contained

          no   additional    information.       (A   copy   of   the   July   20,   2017


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          acknowledgement is attached hereto as Exhibit “D”).

       29. Next, in a letter dated July 26, 2017, OCWEN issued a partial response

          to AMORIELLO’s Notice of Error in that the response provided: (i) that

          the account was updated to reflect attorney representation; (ii) the date of

          loan origination and the originating lender; (iii) that a request has been

          made to provide a payment history of the loan; and (iv) that OCWEN

          was the servicer of the loan on behalf of the Federal National Mortgage

          Association (and that ownership may change). (A copy of the July 26,

          2017 response is attached hereto as Exhibit “E”)

       30. Absent from OCWEN’s response to the July 26, 2017 Notice of Error

          was: (i) the identity of the current owner of the loan, and its address and

          contact phone number; (ii) the name, of a corporate officer of the owner

          of the loan, and the contact address and telephone number; (iii) a

          complete payment history of the loan; (iv) a full accounting of all interest

          and escrow payments made and how they were applied to the outstanding

          balance; and (v) the date the current owner acquired the loan.

       31.AMORIELLO was unable to make an informed decision about his loan,

          including the possibility of refinancing or listing his home for sale due to

          OCWEN’s failure to respond to her Request for Information and Notice

          of Error.


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       32.AMORIELLO wished to examine his payoff and her payment history and

          escrow statements to ensure that the figures were correct prior to

          applying to refinance or listing his home for sale and also as a tool for

          determining a listing price.

       33.AMORIELLO also requested the identity of her loan as to ensure that

          any payoff of the loan was paid to the correct party.

       34.However, due to OCWEN’s pattern and practice of failing to adequately

          and timely respond to AMORIELLO’s requests, AMORIELLO has

          suffered damages in delays of listing her home for sale.

       35.AMORIELLO has incurred actual damages in the form of the costs

          associated with sending a Request for Information and a Notice of Error.

          AMORIELLO has incurred actual damages in the form of obtaining legal

          advice and in obtaining assistance with the preparation and certified

          mailings of the Notice of Error.

       36.AMORIELLO has been forced to retain legal counsel in an effort to hold

          Defendant liable for the multiple violations of law described herein.

       37.AMORIELLO has also experienced significant emotional distress as a

          result of the ongoing frustration caused by OCWEN’s continued failures

          to properly respond to Plaintiff’s Request for Information and Notice of

          Error as is required.


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                               COUNT I
                     VIOLATION OF 12 C.F.R. § 1024.36(c)

       38. Plaintiff repeats and re-alleges each and every allegation contained in

          paragraphs 1 through 37.

       39. Pursuant to 12 C.F.R. § 1024.36(c), “[w]ithin five days (excluding

          legal public holidays, Saturdays, and Sundays) of a servicer

          receiving an information request from a borrower, the servicer

          shall provide to the borrower a written response acknowledging

          receipt of the information request.”


       40. Plaintiff sent a Request for Information to OCWEN dated May 1, 2017,

          which was received on May 4, 2017.

       41. Pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(A), OCWEN was required to

          acknowledge receipt of the Request for Information within five business

          days of receipt.

       42.However, OCWEN never acknowledged receipt of the Request for

          Information received on May 4, 2017.

       43. Therefore, OCWEN violated 12 C.F.R. § 1024.36(c) by failing to

          provide an acknowledgement of receipt of the May 1, 2017 Request for

          Information within five business days of receipt.


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        44.OCWEN’s actions are believed to be a pattern and practice of behavior in

           conscious disregard for the Plaintiff’s rights.

        45.As a result of OCWEN’s actions, OCWEN is liable to the Plaintiff for

           actual damages, statutory damages, costs and attorney’s Fees.

        WHEREFORE, the Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that OCWEN violated 12 C.F.R. § 1024.36(c);

              b) Awarding Plaintiff statutory damages, pursuant to 12 U.S.C.

                 §2605(f). in the amount of $2,000.00;

              c) Awarding Plaintiff actual damages pursuant to 12 U.S.C.§

                 2065(f)(1)(B)

              d) Adjudging that the failures of the OCWEN are part of a practice

                 and pattern

              e) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                 this action pursuant to 12 U.S.C. §2065(f);

              f) Awarding Plaintiff pre-judgment and post judgment interest as

                 permissible by law; and

              g) Awarding Plaintiff such other relief as this Court may deem just

                 and proper.


                               COUNT II
                 VIOLATION OF 12 C.F.R. § 1024.36(d)(2)(i)(A)


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        46. Plaintiff repeats and re-alleges each and every allegation contained in

           paragraphs 1 through 37.

        47. Pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(A):

           A Servicer must comply with the requirement of paragraph (d)(1)
           of this section:… “[n]ot later than 10 days excluding legal public
           holidays, Saturdays, and Sundays) after the servicer receives an
           information request for the identity of, and address or other
           relevant contact information for, the owner or assignee of a
           mortgage loan.

        48. Plaintiff sent a Request for Information to OCWEN dated May 1, 2017,

           which was received on May 4, 2017.

        49. Pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(A), OCWEN was required to

           respond to the information requested the identity of the owner of the loan

           within 10 business days of receipt. However, OCWEN never responded

           with any type of information regarding the owner of the loan.

        50. Therefore, OCWEN violated 12 C.F.R. § 1024.36(d)(2)(i)(A) by failing

           to provide the name of the owner of the note within 10 business days of

           receipt.

        51.OCWEN’s actions are believed to be a pattern and practice of behavior in

           conscious disregard for the Plaintiff’s rights.

        52.As a result of OCWEN’s actions, OCWEN is liable to the Plaintiff for

           actual damages, statutory damages, costs and attorney’s Fees.

        WHEREFORE, the Plaintiff prays for relief and judgment, as follows:

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              h) Adjudging that OCWEN violated 12 C.F.R. § 1024.36(2)(i)(A);

              i) Awarding Plaintiff statutory damages, pursuant to 12 U.S.C.

                 §2605(f). in the amount of $2,000.00;

              j) Awarding Plaintiff actual damages pursuant to 12 U.S.C.§

                 2065(f)(1)(B)

              k) Adjudging that the failures of the OCWEN are part of a practice

                 and pattern

              l) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                 this action pursuant to 12 U.S.C. §2065(f);

              m) Awarding Plaintiff pre-judgment and post judgment interest as

                 permissible by law; and

              n) Awarding Plaintiff such other relief as this Court may deem just

                 and proper.


                              COUNT III
                  VIOLATION OF 12 C.F.R. § 1024.36(d)(2)(B)

        53.Plaintiff repeats and re-alleges each and every allegation contained in

           paragraphs 1 through 37.

        54.Pursuant to 12 C.F.R. § 1024.36(d)(2)(B): “[a] servicer must comply with

           the requirements of paragraph (d)(1) of this section … For all other

           requests for information, not later than 30 days (excluding legal public


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           holidays, Saturdays, and Sundays) after the servicer receives the

           information request.”

        55.The Plaintiff sent a Request for Information to OCWEN dated May 1,

           2017, which was received by OCWEN on May 4, 2017.

        56.Pursuant to 12 C.F.R. § 1024.36(d)(2)(B), OCWEN was required to

           provide a full response to AMORIELLO’S Request for Information on or

           before thirty (30) business days after receipt.

        57.However, OCWEN did not respond to AMORIELLO’S May 1, 2017

           Request for Information.

        58.Therefore, OCWEN violated 12 C.F.R. § 1024.36(d)(2)(B) by failing to

           provide a full response to AMORIELLO’S April 11, 2017 Request for

           Information within thirty (30) business days of receipt.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              o) Adjudging that Defendant violated 12 C.F.R. § 1024.36(d)(2)(B);

              p) Awarding Plaintiff statutory damages, pursuant to 12 U.S.C.

                 §2605(f). in the amount of $2,000.00;

              q) Awarding Plaintiff actual damages pursuant to 12 U.S.C.§ 2065(f);

              r) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                 this action pursuant to 12 U.S.C. §2065(f);

              s) Awarding Plaintiff pre-judgment and post judgment interest as


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                 permissible by law; and

              t) Awarding Plaintiff such other relief as this Court may deem just

                 and proper.



                              COUNT IV
                  VIOLATION OF 12 C.F.R. § 1024.36(d)(2)(A)

        59.Plaintiff repeats and re-alleges each and every allegation contained in

           paragraphs 1 through 37.

        60.Pursuant to 12 C.F.R. § 1024.36(d)(2)(A): “[n]ot later than 10 days

           (excluding legal public holidays, Saturdays, and Sundays) after the

           servicer receives an information request for the identity of, and address or

           other relevant contact information for, the owner or assignee of a

           mortgage loan.”

        61.The Plaintiff sent a Notice of Error to OCWEN dated June 29, 2017,

           which was received by OCWEN on July 17, 2017.

        62.The Plaintiff’s June 29, 2017 Notice of Error sought information

           regarding the identity of the owner of the mortgage loan.

        63.Pursuant to 12 C.F.R. § 1024.36(d)(2)(A), OCWEN was required to

           provide a full response to the Plaintiff’s Notice of Error on or before ten

           (10) business days after receipt.

        64.Although OCWEN provided a partial response to the June 29, 2017
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           Notice of Error in that OCWEN was the servicer on behalf of Federal

           National Mortgage Association, the July 24, 2017 “response” did not

           provide the identity of the current owner of the loan—which was

           requested back in the May 1, 2017 Request for Information as well as the

           June 29, 2017 Notice of Error.

        65.Therefore, OCWEN violated 12 C.F.R. § 1024.36(d)(2)(A) by failing to

           provide a full response as to the identity of the current owner of the loan

           within ten (10) business days of receipt of the Notice of Error.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 12 C.F.R. § 1024.36(d)(2)(A);

              b) Awarding Plaintiff statutory damages, pursuant to 12 U.S.C.

                 §2605(f). in the amount of $2,000.00;

              c) Awarding Plaintiff actual damages pursuant to 12 U.            S.C.§

                 2065(f);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                 this action pursuant to 12 U.S.C. §2065(f);

              e) Awarding Plaintiff pre-judgment and post judgment interest as

                 permissible by law; and

              f) Awarding Plaintiff such other relief as this Court may deem just

                 and proper.


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                       COUNTS V, VI, VII, and VIII
                 VIOLATION OF 12 C.F.R. § 1024.35(e)(2)(i)(C)

        66.Plaintiff repeats and re-alleges each and every allegation contained in

           paragraphs 1 through 37.

        67.Pursuant to 12 C.F.R. § 1024.35(e)(2)(i)(C): “[f]or all other asserted

           errors, not later than 30 days (excluding legal public holidays, Saturdays,

           and Sundays) after the servicer receives the applicable notice of error.”

        68.Comment 1 of the Official CFPB Interpretations to 12 C.F.R §

           1024.35(e)(4) indicates that a notice of error alleging multiple errors may

           be treated as separate notices of error.

        69.The Plaintiff sent a Notice of Error to OCWEN dated June 29, 2017,

           which was received by OCWEN on July 17, 2017.

        70.Plaintiff’s Notice of Error informed OCWEN that it failed to respond to

           the following information requests: (i) the identity of the current owner

           of the loan, and its address and contact phone number; (ii) the name, of a

           corporate officer of the owner of the loan, and the contact address and

           telephone number; (iii) a complete payment history of the loan; (iv) a full

           accounting of all interest and escrow payments made and how they were

           applied to the outstanding balance; and (v) the date the current owner

           acquired the loan.
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        71.Pursuant to Comment 1, OCWEN’s failure to remedy the error of

           responding to the above requests are to be treated as separate notices of

           error.

        72.Therefore, OCWEN violated 12 C.F.R. § 1024.35(e)(2)(i)(C) by failing

           to provide a full response to AMORIELLO’S June 29, 2017 Notice of

           Error within thirty (30) business days of receipt.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 12 C.F.R. § 1024.35(e)(2)(i)(C);

              b) Awarding Plaintiff statutory damages, pursuant to 12 U.S.C.

                    §2605(f). in the amount of $2,000.00;

              c) Awarding Plaintiff actual damages pursuant to 12 U.S.C.§ 2065(f);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                    this action pursuant to 12 U.S.C. §2065(f);

              e) Awarding Plaintiff pre-judgment and post judgment interest as

                    permissible by law; and

              f) Awarding Plaintiff such other relief as this Court may deem just

                    and proper.


                                  COUNT IX
                       VIOLATION OF 12 CFR §1024.35(e)(1)(i)

        73. Plaintiff repeats and re-alleges each and every allegation contained in


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           paragraphs 1 through 37.

        74.Pursuant to 12 C.F.R. §1024.35(e)(1)(i),

           A servicer must respond to a notice of error by either: (A)
           Correcting the error or errors identified by the borrower and
           providing the borrower with a written notification of the
           correction, the effective date of the correction, and contact
           information, including a telephone number, for further assistance;
           or (B) Conducting a reasonable investigation and providing the
           borrower with a written notification that includes a statement that
           the servicer has determined that no error occurred, a statement of
           the reason or reasons for this determination, a statement of the
           borrower's right to request documents relied upon by the servicer
           in reaching its determination, information regarding how the
           borrower can request such documents, and contact information,
           including a telephone number, for further assistance.

        75.Comment 1 of the Official CFPB Interpretations to 12 C.F.R §

           1024.35(e)(4) indicates that a notice of error alleging multiple errors may

           be treated as separate notices of error.

        76.First, OCWEN failed to correct any of the items raised in the Plaintiff’s

           June 29, 2017 Notice of Error as none of the requested information or

           documents were provided in the response.

        77.To-date OCWEN has failed to provide: (i) the name, address, and

           telephone number of the owner of the loan; (ii) the name of a corporate

           officer of the owner of the loan, address, and telephone number; (iii) a

           complete payment history of the loan; (iv) a full accounting of all interest

           and escrow payments made and how they were applied to the outstanding


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           balance; and (v) the date the current owner acquired the loan.

        78.Additionally, OCWEN did not include any of the required language

           regarding an investigation onto the identified servicing errors in its

           response to the Plaintiff’s Notice of Error.

        79.Therefore, OCWEN violated 12 C.F.R. §1024.35(e)(1)(i) be failing to

           correct any of the identified servicing errors and for failing to include the

           required investigation language in its response to the Plaintiff’s Notice of

           Error.

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

              a) Adjudging that Defendant violated 12 C.F.R. §1024.35(e)(1)(i);

              b) Awarding Plaintiff statutory damages, pursuant to 12 U.S.C.

                    §2605(f). in the amount of $2,000.00 for each count;

              c) Awarding Plaintiff actual damages pursuant to 12 U.S.C.§ 2065(f);

              d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                    this action pursuant to 12 U.S.C. §2065(f);

              e) Awarding Plaintiff pre-judgment and post judgment interest as

                    permissible by law;

              f) Awarding Plaintiff injunctive relief to stop the pending foreclosure

                    sale of Plaintiff’s homestead property; and

              g) Awarding Plaintiff such other relief as this Court may deem just


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                 and proper.


                                   TRIAL BY JURY

        80.Plaintiff is entitled to and hereby demands a trial by jury.

  Dated: February 27, 2018

                                         Respectfully Submitted,
                                         JULIANA GAITA, P.A.
                                         Attorneys for Plaintiff
                                         BY: /s/ Lisa Hailey, Esq.___
                                         Lisa Hailey, Esq. / FBN 123827
                                         2701 Boca Raton Boulevard, Suite 107
                                         Boca Raton, FL 33431
                                         Tel. #:561.869.3703
                                         Fax #:866.292.0295
                                         E-mail: eservice@gllawcenter.com




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INSTR # 114247105 Page 1 of 18, Recorded 03/07/2017 at 04:31 PM
Broward County
      Case      Commission, Document
           0:18-cv-60418-UU   Doc M 1$756.00
                                       Entered Int Tax Docket
                                               on FLSD $432.00   Deputy Clerk
                                                              02/27/2018       ERECORD
                                                                         Page 21 of 49



                                             Exhibit "A"


           This Instrument Prepared By:
          INDECOMM GLOBAL SERVICES MAIL STOP-FD-HR-9000
          Lisa Bowling
          1260 ENERGY LANE
          ST . PAUL, MINNESOTA 55108
          Loan Number: 7161283630



            After Recording Return To:
           American Title Service s, Inc.
           2801 N Univer sity Drive # 204
           Coral Springs, FL 33065




           - - - - - - - - - - - - - - - - - - - - - - ' - - - [Space Above This Line For Recording Data) - - -



                                                         MORTGAGE
           MIN: 100668971 6128363 07                                                            MERS Phone: 888-679-6377

           DEFINITIONS

           Words used in multiple sections of this document are defined below and other words are defined in Sections 3, 11,
           13, 18,20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section 16.

           (A) "Security Instrument" means this document, which is dated FEBRUARY 10, 2017                           , together
           with all Riders to this document.
           (B) "Borrower" is Patrick L Amoriello and Paula S Amoriello husband
           and wife


           Borrower is the mortgagor under this Security Instrument.
           (C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
           solely as a nominee for Lender and Lender's successors and assigns. MERS is the mortgagee under this Security
           Instrument. MERS is organized and existing under the laws of Delaware, and has an address and telephone number
           of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.
           (D) ''Lender'' is     HOMEWARD RESIDENTIAL INC

           Lender is a DELAWARE CORPORATION                                                                         organized
           and existing under the laws of                    DELAWARE
           Lender's address is 16675 ADDISON ROAD, ADDISON, TEXAS 75001


           (E) "Note"means the promissory note signed by Borrower and dated            FEBRUARY 10, 2017
           The Note states that Borrower owes Lender    TWO HUNDRED SIXTEEN THOUSAND AND
           00/100                                               Dollars (U.S. $ 2 1 6 ,000.00              ) plus interest.
           Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than
           MARCH     1,    2027




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          (F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."
          (G) ''Loan'' means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
          the Note, and all sums due under this Security Instrument, plus interest.
          (II) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
          to be executed by Borrower [check box as applicable]:


              0    Adjustable Rate Rider             [R] Plamled Unit Development Rider
              0    Balloon Rider                     0    Biweekly Payment Rider
              0    1-4 Family Rider                  0    Second Home Rider
              0    Condominium Rider                 D    Other(s) [specify]




          (I) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
          administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
          opinions.
          (J) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
          that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
          organization.
          (K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft,
          or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
          magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
          includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
          telephone, wire transfers, and automated clearinghouse transfers.
          (L) "Escrow Items" means those items that are described in Section 3.
          (M) ''Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
          third party (other than inslU'ance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
          destruction of, the Property; (li) condemnation or other taking of all or any part of the Property; (iii) conveyance in
          lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value andlor condition of the Property.
          (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
          (0) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note,
          plus (ii) any amounts under Section 3 of this Security Instrument.
          (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its implementing
          regulation, Regulation X (12 C.F.R. Part 1024), as they might be amended from time to time, or any additional or
          successor legislation or regulation that governs the same subject matter. As used in this Security Instrument,
          "RESP A" refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage loan"
          even if the Loan does not qualify as a "federally related mortgage loan" under RESP A.
          (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that
          party has assumed Borrower's obligations under the Note and/or this SeclU'ity Instrument.




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          TRANSFER OF RIGHTS IN THE PROPERTY

          This Security Insh1.1ment secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications
          ofthe Note; and (ii) the perfonnance of Borrower' s covenants and agreements under this Security Instrument and the Note.
          For this purpose, Bon'ower does hereby mortgage, grant and convey to MERS (solely as nominee for Lender and Lender's
          successors and assigns) and to the successors and assigns ofMERS, the following described property located in the
                                                        COUNTY        of     Broward
                         [Type of Recording JW'isdiction)                                 [Narne of Recording Jurisdiction)
          A.P.N.: 48-41-30-01-0811



         The Northeasterly 55.00 feet of Lot 4, Block E, Eagle Trace, according to the map or plat
         thereof as recorded in Plat Book 116, Page 19, of the Public Records of Broward County,
         Florida.




          which currently has the address of                               11823 Highland Pl
                                                                                          [Street)

                              Coral Springs                                   , Florida              33071         ("Property Address"):
                                           [City)                                               [Zip Code)

                TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
          appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
          covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property."
          Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this Security
          Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender's successors
          and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right to foreclose
          and sell the Property; and to take any action required of Lender including, but not limited to, releasing and canceling
          this Security Instrument.
                BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right
          to mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of
          record. Borrower warrants and will defend generally the title to the Property against all claims and demands, subject
          to any encumbrances of record.
                THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
          limited variations by jurisdiction to constitute a uniform security instrument covering real property.




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                UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                1.  Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall
          pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late
          charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due
          under the Note and this Security Instrument shall be made in U. S. currency. However, if any check or other
          instrument received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid,
          Lender may require that any or all subsequent payments due under the Note and this Security Instrument be made in
          one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
          treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured
          by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
                Payments are deemed received by Lender when received at the location designated in the Note or at such other
          location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return
          any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender
          may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
          hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
          obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied as of
          its scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds
          until Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
          time, Lender shall either apply such funds or return them to Borrower. If not applied earlier, such funds will be
          applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
          which Borrower might have now or in the future against Lender shall relieve Borrower from making payments due
          under the Note and this Security Instrument or performing the covenants and agreements secured by this Security
          Instrument.
                2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
          accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
          (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
          Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second
          to any other amounts due under this Security Instrument, and then to reduce the principal balance of the Note.
                If Lender receives a payment £i'om Borrower for a delinquent Periodic Payment which includes a sufficient
          amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If
          more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
          repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
          any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may
          be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
          as described in the Note.
                 Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
          shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                 3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
          Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and
          assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
          Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance
          required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower
          to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10.
           These items are called" Escrow Items." At origination or at any time during the term of the Loan, Lender may require
          that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and



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          assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
          under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
          obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender
          Funds for any or all Escrow Items at any time. Any such waiver may only bc in writing. In the event of such waiver,
          Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which payment of
          Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
          within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
          shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the phrase
          "covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to
          a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section
          9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
          Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section
          15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
          under this Section 3.
                Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
          at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESP A.
          Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures
          of fuhlre Escrow Items or otherwise in accordance with Applicable Law.
                The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
          entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan
          Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESP A. Lender
          shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
          the Escrow Items, unless Lender pays Bonower interest on the Funds and Applicable Law permits Lender to make
          such a charge. Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
          Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
          in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
          annual accounting of the Funds as required by RESP A.
                Ifthere is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
          the excess funds in accordance with RESP A. If there is a shortage of Funds held in escrow, as definedtmder RESPA,
          Lender shall notify Borrower as required by RESP A, and Borrower shall pay to Lender the amount necessary to make
          up the shortage in accordance with RESP A, but in no more than 12 monthly payments. If there is a deficiency of
          Funds held in escrow, as defined under RESP A, Lender shall notify Borrower as required by RESP A, and Borrower
          shall pay to Lender the amount necessary to make up the deficiency in accordance with RESP A, but in no more than
          12 monthly payments.
                Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refound to Borrower
          any Funds held by Lender.
                4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
          the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
          Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items
          are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
                Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
          (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only
          so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against
          enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien
          while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder



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          of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
          determines that any part of the Property is subject to a lien which can attain priority over this Security Instrument,
          Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is given,
          Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.
                Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
          used by Lender in connection with this Loan.
                5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
          Property insured against loss by fire, hazards included within the term" extended coverage," and any other hazards
          including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
          maintained in the amounts (including deductible levels) and for the pedods that Lender requires. What Lender
          requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier providing
          the insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
          not be exercised unreasonably. Lender may require Borrower to pay, in cOlmection with this Loan, either: (a) a one-
          time charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone
          determination and certification services and subsequent charges each time remappings or similar changes occur which
          reasonably might affect such determination or certification. Borrower shall also be responsible for the payment of
          any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
          determination resulting from an objection by Borrower.
                If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
          Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
          of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's
          equity in the Property, or the contents of the Property, against any dsk, hazard or liability and might provide greater
          or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
          obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed
          by Lender under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These
          amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such interest,
          upon notice from Lender to Borrower requesting payment.
                All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to
          disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee andlor as an
          additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
          Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any
          form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
          policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
          payee.
                In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
          proof of loss if not made promptly by B01'1'ower. Unless Lender and B01'1'ower otherwise agree in writing, any
          insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration
          or repair of the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.
          During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
          has had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
          provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
          restoration in a single payment or in a series of progress payments as the work is completed. Unless an agreement
          is made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
          required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
          retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.



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          If the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance proceeds
          shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
          to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                 If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
          related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
          offered to settle a claim, then Lender may negotiate and settle the claim. The 3D-day period will begin when the
          notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby
          assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
          under the Note or this Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund
          of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
          are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
          Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
                 6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
          within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's
          principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which
          consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
          control.
                 7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
          damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
          Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
          deteriorating Of decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
          restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
          deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or the taking
          of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
          proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in
          a series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient
          to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair
          or restoration.
                 Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
          Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time
          of or prior to such an interior inspection specifying such reasonable cause.
                 8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
          Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
          materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender wi th
          material information) in connection with the Loan. Material representations include, but are not limited to,
          representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
                 9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
          Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
          proceeding that might significantly affect Lender's interest in the Property andlor rights under this Security Instrument
           (such as a proceeding in bankruptcy, probate, for condenmation or forfeiture, for enforcement of a lien which may
           attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
          Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
          Property and rights tmder this Security Instrument, including protecting and/or assessing the value of the Property,
           and securing and! or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums
           secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable



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          attorneys' fees to protect its interest in the Property and! or rights under this Security Instrument; including its secured
          position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
          make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
          other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
          under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
          Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
          Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
          payable, with such interest, upon notice from Lender to Borrower requesting payment.
                If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
          Borrower shall not sUITender the leasehold estate and interests herein conveyed or terminate or cancel the ground lease.
          Borrower shall not, without the express written consent of Lender, alter or amend the ground lease. If Borrower
          acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger
          in writing.
                10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower
          shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage
          Insurance coverage required by Lender ceases to be available from the mortgage insurer that previously provided such
          insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
          Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage
          Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
          previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage
          Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately designated
          payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
          payments as a non-ref1111dable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable,
          notwithstanding the fact that the Loan is ultimately paid in filll, and Lender shall not be required to pay Borrower any
          interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance
          coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
          becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
          Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
          required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
          the premiums required to maintain Mortgage Insurance in effect, 01' to provide a non-refundable loss reserve, until
          Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
          Lender providing for such termination 01' until termination is required by Applicable Law. Nothing in this Section
          10 affects Borrower's obligation to pay interest at the rate provided in the Note.
                Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur
          if Borrower does not repay the Loan as agreed. BOl'l'ower is not a party to the Mortgage Insurance.
                Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
          agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
          conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
          agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
          may have available (which may include funds obtained from Mortgage Insurance premiums).
                As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
          entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might
          be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying
          the mortgage insurer's risk, or reducing losses. If such agreement providcs that an affiliate of Lender takes a share



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          of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed
          "captive reinsurance." Further:
                (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
          Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
          for Mortgage Insurance, and they will not entitle Borrower to any refund.
                (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
          Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right
          to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the
          Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums
          that were unearned at the time of such cancellation or termination.
                11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
          and shall be paid to Lender.
                If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair ofthe Property,
          if the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
          restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
          opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
          such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single disbmsement
          or in a series of progress payments as the work is completed. Unless an agreement is made in writing or Applicable
          Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
          interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
          Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
          Instrument, whether 01' not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall
          be applied in the order provided for in Section 2.
                In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be
          applied to the sums secured by this Security Instrument, whether 01' not then due, with the excess, if any, paid to
          Borrower.
                In the event of a partial taking, destnlction, or loss in value of the Property in which the fair market value of
          the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
          of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value,
          unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced
          by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount ofthe sums
          secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the
          Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
                In the event ofa partial taking, destruction, or loss in value of the Property in which the fair market value of
          the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
          secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
          agree in writing, the Miscellaneolls Proceeds shall be applied to the sums secured by this Security Instrument whether
          or not the sums are then due.
                 If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as
          defmed in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
          Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous
          Proceeds either to restoration or repair of the Property or to the sUins secured by this Security Instrument, whether
           or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
          against whom Borrower has a right of action in regard to Miscellaneous Proceeds.




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                 Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's
          judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in the Property
          or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate
          as provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's
          judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property 01'
          rights under this Security Instrument. The proceeds of any award 01' claim for damages that are attributable to the
          impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.
                 All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
          order provided for in Section 2.
                 12. Borrower Not Released; Forbearance By Lender Nota Waiver. Extension of the time for payment or
          modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
          Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest
          of Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower
          or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security
          Instrument by reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any
          forbearance by Lender in exercising any right or remedy including, without limitation, Lender's acceptance of
          payments from third persons, entities or Successors in Interest of Borrower or in amOlmts less than the amolmt then
          due, shall not be a waiver of or preclude the exercise of any right or remedy.
                 13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
          that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this Security
          Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to mortgage,
          grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
          personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other
          Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
          Instrument or the Note without the co-signer's consent.
                 SUbject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
          obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower' s rights
          and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability
          under this Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this
          Security Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
                 14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
          default, for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument,
          including, but not limited to, attorneys' fees, property inspection and valuation fees. In regard to any other fees, the
          absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed
          as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
           Instrument or by Applicable Law.
                 Ifthe Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
           interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
           then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
           and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
           Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
           to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment without any
           prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of
           any such refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower might
           have arising out of such overcharge.



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                15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in
          writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to
          Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
          means. Notice to anyone Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
          otherwise. The notice address shall be the Property Address unless Borrower has designated a substitute notice
          address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender
          specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address
          through that specified procedure. There may be only one designated notice address under this Security Instrument
          at anyone time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's
          address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection
          with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender.
          If any notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
          requirement will satisfy the corresponding requirement under this Security Instrument.
                16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by
          federal law and the law of the jurisdiction in which the Property is located. All rights and obligations contained in
          this Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law might
          explicitly or implicitly allow the parties to agree by contract 01' it might be silent, but sllch silence shall not be
          construed as a prohibition against agreement by contract. In the event that any provision or clause of this Security
          Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
          Instrument or the Note which can be given effect without the conflicting provision.
                As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding
          neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice
          versa; and (c) the word "may" gives sole discretion without any obligation to take any action.
                17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
                18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in
          the Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
          interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
          of which is the transfer of title by Borrower at a future date to a purchaser.
                If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
          natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
          Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this option
          shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
                If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a
          period of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower
          must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of
          this period, Lender may invoke any remedies permitted by this Security Instrument without further notice or demand
          on Borrower.
                19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
          have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a) five
          days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such other
          period as Applicable Law might specify for the termination of Borrower, s right to reinstate; or (c) entry ofajudgment
          enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would
          be due under this Security Instrument and the Note as if no acceleration had occurred; (b) ClITes any default of any
          other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but
          not limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the



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          purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
          action as Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
          Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
          Lender may require that Borrower pay such reinstatement sums and expenses in one or more ofthe following forms,
          as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
          provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
          or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
          secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall
          not apply in the case of acceleration under Section 18.
                 20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a pal'tial intel'est in the Note
          (together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might
          result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note
          and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
          Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale
          of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change which will
          state the name and address of the new Loan Servicer, the address to which payments should be made and any other
          information RESP A requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter
          the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
          to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed
          by the Note purchaser unless otherwise provided by the Note purchaser.
                Neither Borrower nor Lender may commence, join, 01' be joined to any judicial action (as either an individual
          litigant or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that
          alleges that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument,
          until such Borrower or Lender has notified the other party (with such notice given in compliance with the requirements
          of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such
          notice to take corrective action. If Applicable Law provides a time period which must elapse before certain action
          can be taken, that time period will be deemed to be reasonable for purposes of this paragraph. TIle notice of
          acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given
          to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action
          provisions of this Section 20.
                 21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances
          defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
          gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
          materials containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal
          laws and laws of the jurisdiction where the Property is located that relate to health, safety or environmental protection;
          (c) "Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
          Environmental Law and (d) an "Environmental Condition" means a condition that can cause, contribute to, or
          otherwise trigger an Environmental Cleanup.
                 Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,
          or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, 110r allow anyone else
          to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an
          Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a
          condition that adversely affects the value of the Property. The preceding two sentences shall not apply to the
          presence, use, 01' storage on the Property of small quantities of Hazardous Substances that are generally recognized




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          to be appropriate to normal residential uses and to maintenance of the Property (including, but not limited to,
          hazardous substances in consumer products).
                Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
          action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
          or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not
          limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
          condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
          Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that
          any removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall
          promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any
          obligation on Lender for an Environmental Cleanup.

                NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
          Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under
          Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action
          required to cure the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by
          which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
          notice may result in acceleration of the sums secured by this Security Instrument, foreclosure by judicial
          proceeding and sale of the Property. The notice shall further inform Borrower of the right to reinstate after
          acceleration and the right to assert in the foreclosure proceeding the non-existence of a default or any other
          defense of Borrower to acceleration and foreclosure. If the default is not cured on or before the date specified
          in the notice, Lender at its option may require immediate payment in full of all sums secured by this Security
          Instrument without further demand and may foreclose this Security Instrument by judicial proceeding. Lender
          shall be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including,
          but not limited to, reasonable attorneys' fees and costs of title evidence.
                23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this Security
          Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
          Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is permitted
          under Applicable Law.
                24. Attorneys' Fees. As used in this Security Instrument and the Note, attorneys' fees shall include those
          awarded by an appellate court and any attorneys' fees incurred in a bankruptcy proceeding.
                25. Jury Trial Waiver. The Borrower hereby waives any right to a trial by jury in any action, proceeding,
          claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in any way related to this
          Security Instrument or the Note.




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                BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
          Instrument and in any Rider executed by Borrower and recorded with it.




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            ___________                                (Seal)
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                                                                                         f!
                                                                                    ~_'~c....
                                                                                         __         _   __>_l__ (Seal)
         /Patrick L Amoriello                      -Borrower         Paula S Am2'riello                     -Borrower
          11823 Highland Pl, Coral                                   11823 Highland Pl, Coral
          springs, FL 33071                                          springs, FL 3307 1




          _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Seal)                         _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
                                                   -Borrower                                                -Bol'1'ower




          _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Seal)                         _ _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
                                                   -Borrower                                                -Borrower




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          STATE OF           FLORIDA

          COUNTY OF                 :::..ro"'-w'-'-a::::..:::..rd"'--_ _ _ _ _ _ __
                           ....;B:::.
                                  .



              The foregoing instrument was acknowledged before me this _ _-=9-'-----'l\-.                        \-'- - G_-t-f_\_~- - '-_ ______
                                                                                                                           (date)

          by Patrick L Amoriello AND Paula S Amoriello




                                                                          (name of person acknowledging)


          who is personally known to me or who has produced                           ~ fl\ \J<€-{L L\ Ce,.J .se-r-
                                                                                                            (type of identification)
          as identification.




                       ,         ~fJAfIOlfIQOllALOMON CUEVAS.fA
                       ,;':. MV COMMI$$ION # FF942751                                         (Signature)


                                                        -
                                rp(PtAlS O.c:eMber 10. 2019                                  ,-.,
                                                                                              +MtJCls(a S. {tJf-V~~
                                                                                              (Notary's Name printed, typed or stamped)



                                            (Seal)



                                                                                              Serial Num er, If any




          Loan Originator: Rafael Delgado, NMLSR 10 1407102
          Loan Originator Organization: Residential Savin~s Mortgage Inc., NMLSR 10 155558
          Loan Originator Organization: Homeward Residentlal Inc, NMLSR IO 3984
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                                                                                   Loan Number: 7161283630




                               PLANNED UNIT DEVELOPMENT RIDER
                  THIS PLANNED UNIT DEVELOPMENT RIDER is made this                                  10th           day of
             FEBRUARY, 2017                                , and is incorporated into and shall be deemed to amend and
             supplement the Mortgage, Deed of Trust, or Security Deed (the" Security Instrument") of the same date,
             given by the undersigned (the "Borrower") to secure Borrower's Note to HOMEWARD
             RESIDENTIAL INC, A DELAWARE CORPORATION
             (the "Lender") of the same date and covering the Property described in the Security Instrument and located at:


                         11823 Highland Pl, Coral Springs, Florida 33071
                                                [Property Address1

             The Property includes, but is not limited to, a parcel ofland improved with a dwelling, together with other
             such parcels and certain common areas and facilities, as described in
             COVENANTS, CONDITIONS AND RESTRICTIONS OF RECORD




             (the "Declaration"). The Property is a part of a planned unit development known as

                                                          Eagle Trace
                                                    [Name of Planned Unit Development]

             (the "PUD"). The Property also includes Borrower's interest in the homeowners association or equivalent
             entity owning or managing the common areas and facilities of the PUD (the "Owners Association") and the
             uses, benefits and proceeds of Borrower's interest.

                 PUD COVENANTS. In addition to the covenants and agreements made in the Security Instrument,
             Borrower and Lender further covenant and agree as follows:

                  A. PUD Obligations. Borrower shall perform all of Borrower's obligations under the PUD's
             Constituent Documents. The "Constituent Documents" are the (i) Declaration; (ii) articles of incorporation,
             trust instrument or any equivalent document which creates the Owners Association; and (iii) any by-laws or
             other rules or regulations of the Owners Association. Borrower shall promptly pay, when due, all dues and
             assessments imposed pursuant to the Constituent Documents.

                 B. Property Insurance. So long as the Owners Association maintains, with a generally accepted
             insurance carrier, a "master" or "blanket" policy insuring the Property which is satisfactory to Lender and




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             which provides insurance coverage in the amounts (including deductible levels), for the periods, and against
             loss by fire, hazards included within the term" extended coverage," and any other hazards, including, but
             not limited to, earthquakes and floods, for which Lender requires insurance, then: (i) Lender waives the
             provision in Section 3 for the Periodic Payment to Lender of the yearly premium installments for property
             insurance on the Property; and (ii) Borrower's obligation under Section 5 to maintain property insurance
             coverage on the Property is deemed satisfied to the extent that the required coverage is provided by the
             Owners Association policy.
                  What Lender requires as a condition of this waiver can change during the term of the loan.
                  Borrower shall give Lender prompt notice of any lapse in required property insurance coverage provided
             by the master or blanket policy.
                  In the event of a distribution of property insurance proceeds in lieu of restoration or repair following
             a loss to the Property, or to common areas and facilities of the PUD, any proceeds payable to Borrower are
             hereby assigned and shall be paid to Lender. Lender shall apply the proceeds to the sums secured by the
             Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.

                  C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to insure
             that the Owners Association maintains a public liability insurance policy acceptable in form, amount, and
             extent of coverage to Lender.

                  D. Condemnation. The proceeds of any award or claim for damages, direct or consequential,
             payable to Borrower in connection with any condemnation or other taking of all or any part of the Property
             or the common areas and facilities of the PUD, or for any conveyance in lieu of condemnation, are hereby
             assigned and shall be paid to Lender. Such proceeds shall be applied by Lender to the sums secured by the
             Security Instrument as provided in Section 11.

                  E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with Lender's
             prior written consent, either partition or subdivide the Property or consent to: (i) the abandonment or
             termination of the PUD, except for abandonment or termination required by law in the case of substantial
             destruction by fire or other casualty or in the case of a taking by condemnation or eminent domain; (li) any
             amendment to any provision of the "Constituent Documents" if the provision is for the express benefit of
             Lender; (iii) termination of professional management and assumption of self-management of the Owners
             Association; or (iv) any action which would have the effect of rendering the public liability insurance
             coverage maintained by the Owners Association unacceptable to Lender.

                 F. Remedies. If Borrower does not pay PUD dues and assessments when due, then Lender may pay
             them. Any amounts disbUl'sed by Lender under this paragraph F shall become additional debt of Borrower
             secured by the Security Instrument. Unless Borrower and Lender agree to other terms of payment, these
             amounts shall bear interest from the date of disbursement at the Note rate and shall be payable, with interest,
             upon notice from Lender to Borrower requesting payment.




             MULTISTATE PUD RIDER--Single Family                                                         DocM8glr:~
             Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                                   www.d~cmaglc.com
             Form 3150 1/01                                    Page 2 of 3
INSTR # 114247105        Page      18 of 18, End of Document
      Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 38 of 49




                  BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this    pun
              Rider,




             ~~_ _ _ _.-----,---_ _ _-------,=- (Seal)
           ./Patrick L Amoriello          -Borrower
                                                                    _ _--=---~~--::-::,---~--"""''______::::_ (Seal)
                                                                                                          -Borrower




              _ _ _ _ _ _ _ _ _ _ __:::_ (Seal)                     _ _ _ _ _ _ _ _ _ _ __:::_ (Seal)
                                    -Borrower                                             -Borrower




              _ _ _ _ _ _ _ _ _ _ __:::_ (Seal)                     _ _ _ _ _ _ _ _ _ _ _-::::-- (Seal)
                                    -Borrower                                             -Borrower




              MULTISTATE PUD RIDER--Slngle Family                                                 DocM9fJlc~
              Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                           www.d(!)cmaglc.It(!)m
              Form 3150 1/01                               Page 3 of 3
     Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 39 of 49
                                                     Exhibit "B"
                           GAITA & LISZT, P.L'.
                                              A TTORNEYS AT LA W

JCLIANA GAITA, ESQ, Admitted ill FL ,,-,;"},JA
JOSHUA IvL LISZT, ESQ. Admitted ill FL & GA
LISA HAILEY, ESQ. Admitted ill FL

        May 1,2017

        VIA CERTIFIED MAIL #7016 0910 0001 7946 1136

        Ocwen Loan Servicing, LLC
        Research
        P.O. Box 24736
        West Palm Beach, FL 33416-4736

                RE: Request for Information Pursuant to 12 CFR § 1024.36(g)
                Borrower:           Patrick L Amoriello
                Property Address:   11823 Highland Place, Coral Springs, FL 33071
                Loan Number:        7161283630

        To Whom It May Concern:


                The undersigned represents the alleged borrower for the above-referenced loan. As the

        alleged servicer of the above-referenced borrower's mortgage loan, please treat this as a Request

        for Information (RFI) pursuant to the Real Estate Settlement Procedures Act, 12 U.S.C. 2605(f).

        Be advised that your response herein is subject to the time period set out in Regulation X, 12

        CFR §1024.35(e)(3)(i)(B).


                At this time, please provide the following information: (i) the name of the owner or

        assignee of my client's mortgage loan; (ii) the address and telephone number for the owner or

        assignee of my client's mortgage loan; (iii) the name, position, and address of an officer of the

        entity that is the owner of the above-referenced loan; (iv) a complete payment history of my

        client's loan; (v) an accounting of all interest and escrow payments made by my client and how


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                                T: 561.869.3703            .   www.GLlawcenter.com
     Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 40 of 49


                               GAITA & LISZT, P.L.
                                                 A TTORNEYS AT LAW

]CLIANA GAITA, ESQ. Admitted in FL &l\;!A.
] OSHUA :M. LISZT, ESQ. Admitted in FL c,\.o GA
LISA HAILEY, ESQ. Admitted in FL

        they were applied to the outstanding balance; (vi) the date the current owner acquired the loan;

        and (v) any other relevant information for the owner or assignee ofthe above-referenced loan.


        Thank you for taking the time to respond to this request.



                                                                            Be~
                                                                             Lisa Hailey, Esq.



        Enc!. Third Party Authorization




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                                   T: 561.869.3703                   www.GLlaweenter.eom
       Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 41 of 49
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                                                            ATTORNEYS AT LAW




                      Borrower's Authorization to Release Information to Third Party


             Mortgage Servicer Name:                     OCWEN LOAN SERVICING,LLC
             Alleged Borrower:                            patrick L Amoriello
             Property Address:
                                                          11823 Highland place coral springs FL 33071
             Loan Number:
                                                          7161283630



            I,       AMORIELLO, PATRICK L , THE UNDERSIGNED, HEREBY AUTHORIZE THE
            SERVICER LISTED ABOVE AND ITS AGENTS, REPRESENTATIVES, SUCCESSORS,
            COLLECTION COMPANIES AND LEGAL REPRESENTATIVES TO DISCUSS AND
            RELEASE MY ACCOUNT INFORMATION TO/WITH THE FOLLOWING INDIVIDUALS
            AT THE LAW FIRM OF GAITA & LISZT, P.L., IN AN EFFORT TO SETTLE OR
            OTHERWISE RESOLVE THE ABOVE REFERENCED MATTER:


                1. JOSHUA M. LISZT, ESQ.
                2. JULIANA GAITA, ESQ.
                3. LISA HAILEY, ESQ.



                                                                                               4/26/2017
            Client:         AMORIELLO,PATRICK L                          DATE




                      2 7 0 1B 0   C.\   R.\ TO", B   0 U LEY .\ R D,   SUIT E 1 0 7 , B () c.\ R .\ T   () N ,   F   L () RID.\   3 343 1

                                                 T:561.869.3703 F:866.292.0295
    Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 42 of 49
                                            Exhibit "C"
                              GAITA & LISZT, P.L.
                                             A TTORNEYS AT LAW

JULIANA GAITA, ESQ. Admitted in FL &.vfA.
LISA fL~ILEY, ESQ. Admitted in FL

       June 29,2017

       VIA CERTIFIED MAIL# -}O              n     OCRCeO OOd 0 S jjV/ L)O 00
       Ocwen Loan Servicing, LLC, research
       P.O. Box 24736
       West Palm Beach, FL 33416-4736


                RE: NOTICE OF ERROR PURSUANT TO 12 CFR §1024.35
                Borrower: Patrick L. Amoriello
                Property Address: 11823 Highland Place, Coral Springs, FL 33071
                Loan Number: 7161283630

       To Whom It May Concern:

               As the alleged servicer of the above-referenced borrower's mortgage loan, please treat
       this as a Notice of Error (NOE) pursuant to the Real Estate Settlement Procedures Act, 12 U.S.C.
       2605(e). Be advised that your response herein is subject to the time period set out in Regulation
       X, 12 CFR § 1024.35(e)(3)(i)(B).

               The undersigned sent a request for information, dated May 1, 2017 and received in your
       office on May 4, 2017 on behalf of the above-referenced borrower. However, as of the date of
       this letter you have failed to send a timely acknowledgment of receiving that request and a
       response to the request for information. You have therefore committed a servicing error as
       prescribed by 12 CFR § 1024.35(b)(11) by failing to send correspondence regarding the request
       for information to the undersigned. Please make sure that your response is not only dated, but
       postmarked.

                Please respond to the request for information.


                                                                   ~)~
                                                                   CZ::~d.
                                                                    For the Firm




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                               T: 561.869.3703           .     www. GLla ween ter. eom
                                                                                     Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 43 of 49




                                                                             EXHIBIT "D"




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~                       ~                                                                                                      PRESORTED
;                       :        P.O. Box 24646                                                                             FIRST,CLASS MAil
                                                                                                                            U.S. POSTAGE PAID
                                 West Palm Beach, FL 33416-4646                                                                   VElTD
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OCWEN                                                                                                                FIRST CLASS MAIL




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                                                                               Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 44 of 49


                                          Ocwen Loan Servicing i LLC                          1661 Worthington Road, Suite 100
                                                   www.ocwen.com                                    West Palm Beach, FL 33409
                                         Helping Homeowners Is What We Do!'"                           Toll Free: 800.746.2936


07/20/2017                                                                                            Loan Number: 7161283630




        Patrick L Amoriello
        Paula S Amoriello
        2701 NW 2ND AVE STE 107
        C/O GAITA AND LlSZT P.L
        BOCA RATON, FL 33431-6707

                                                                                            Property Address: 11823 Highland PI
                                                                                                         Coral Springs, FL 33071



Dear Customer(s),

We have received your correspondence on the above referenced loan. It is Ocwen's goal to complete all research and provide a
written response to you within (10) business days from the date of the receipt of your letter. While most requests are addressed
within 10 business days, some requests may require additional time. In the event we are unable to issue a complete response
within 30 days, you will receive a letter indicating additional time is required.


We may need to contact you for further information in order to process your request. Please direct any additional information
regarding your correspondence to the following address:
                                                                                                                                    o
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                                                                                                                                    o
                                                   Ocwen Loan Servicing, LLC                                                        o
                                                                                                                                    c;>
                                                                                                                                    o
                                                Attention: Research Department                                                      o
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                                                                                                                                    o
                                                         P.O. Box 24736                                                             o
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                                                West Palm Beach, FL33416-4736                                                       c;>
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You may also contact our Customer Care Center at 800.746.2936. We are available Monday through Friday 8 am to 9 pm, Saturday        o
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8 am to 5 pm and Sunday 9 am to 9 pm ET.                                                                                            c;>
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Sincerely,                                                                                                                          ~
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Loan Servicing                                                                                                                      '"




NMLS # 1852                                                                                                          ACKNOWLM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an
attempt to collect a debt from you personally.
                                                           Page lof 1
                                                                     Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 45 of 49




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~          PATRICK L AMORIELLO
           PAULA S AMORIELLO
           C/O GAITA AND LlSZT P.L
           2701 NW 2ND AVE STE 107
           BOCA RATON FL 33431-6707
                Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 46 of 49




                                               EXHIBIT "E"




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~                         ~   P.O. Box 24646
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:                         :   West Palm Beach, FL 33416-4646
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         Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 47 of 49



                                             Ocwen Loan Servicing, LtC                         1661 Worthington Road, Suite 100
                                                     www.ocwen.com                                   West Palm Beach, Fl33409
                                           Helping Homeowners Is What We Do!1i'                           Toll Free: 800.745,2936


07/24/2017                                                                                              Loan Number: 7161283630


                                                                                                                                     ~~
                                                                                                                                     ~
        Gaita & Liszt P.L.
        2701 Boca Raton Boulevard, Suite 107
        Boca Raton, FL 33431

                                                                                              Property Address: 11823 Highland PI
                                                                                                          Coral Springs, FL 33071




Dear    Gaita & Liszt P.L.,

Ocwen Loan Servicing, LLC (OCWEN) would like to take this opportunity to thank you for your recent communication regarding
the above referenced loan. We appreciate the time and effort on your part to bring your concern to our attention. Pursuant to your
request, we have reviewed the loan and below is our response to the concern raised:

Concern#l           With reference to the borrowers' (Patrick L. Amoriello and Paula S. Amoriello) loan, you provided us with a
                    Notice of Error and requested to answer the queries outlined in your previous correspondence dated 05/01/2017.




Response            We strive to provide each of our customers with the utmost customer care and professionalism and are
                    disappointed to hear that you feel this standard was not met. We regret any inconvenience that you may have
                    experienced.

                    We have updated our records to reflect Gaita & Liszt P.L. as an Authorized Third Party (ATP). As an ATP, you
                    can receive and discuss information regarding the loan.

                    To discuss account information, the authorized third party must provide the information below:

                    1.   Mortgage account number
                    2.   Account holder's name
                    3.   Last four digits of the account holder's Social Security Number
                    4.   Property address
                    5.   Password (if any)

                    We have also updated our records to cease all written and verbal communication with the borrowers and direct
                    it to your office at the below address and phone number:

 NMLS # 1852                                                                                                      RRCMAINLTRM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an
attempt to collect a debt from you personally.
                                                               Page 1 of 3
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                                           Ocwen Loan Servicing; LLC                             1661 Worthington Road, Suite 100
                                                    www.ocwen.com                                      West Palm Beach, Fl33409
                                          Helping Homeowners Is What We Dofl$                             Toll free: 800.746.2936



                    2701 Boca Raton Boulevard, Suite 107
                    Boca Raton, FL 33431
                    Phone: 1-561-869-3703

                    All correspondence, including account statements and other required Notices, will be mailed to the new mailing
                    address until further notice,

                    Ocwen's records indicate the loan originated with Homeward Residential, Inc., A Delaware Corporation, on
                    02/10/2017, On 02116/2017, the servicing rights of the loan were transferred to Ocwen with the loan due for
                    04/0112017. As Ocwen was not involved in the origination of the loan, it would not be able to comment on
                    concerns regarding the origination of the loan. Further, the information we provide in relation to your request is
                    limited only to the servicing of your account.

                   We have submitted a request for the Payment Reconciliation History to be sent to your attention; the payment
                   history reflects all credits and disbursements made to the loan and the resulting loan status. You will receive the
                   payment history under a separate cover.

                   Ocwen is the servicer of the loan, and not necessarily the owner of the loan. Ocwen was servicing the loan for
                   Federal National Mortgage Association (Fannie Mae) Attention: 3900 Wisconsin Ave, NW, Washington, DC,
                   20016-2892 and phone number: 1-800-732-6643. Although the ownership of the loan may change, the
                   ownership has no bearing on the servicing of the loan. Ocwen is obligated to service the loan according to the
                   terms and conditions ofthe loan documents executed by the borrowers.

                    If you have a specific concern related to the servicing of your loan, please provide us with additional
                    information regarding the concern, in order for Ocwen to research the matter further.

                   For any further information, you may contact our Customer Care Center at 1-800-746-2936 (Monday through               g
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                   Friday 8:00 am to 9:00 pm ET, Saturday 8:00 am to 5:00 pm ET and Sunday 9:00 am to 9:00 pm ET).                       o
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We trust that the information provided has fully addressed your concern. Please note that you may request copies of collateral or        .,
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certain loan documents that were relied upon in making this determination. You may receive these documents by sending in a               g
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written request to the Research Department at the address mentioned below. Please visit our website (www.ocwencustorners.com)            III
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which is available 24 hours a day, seven days a week, as many of the answers to your account specific questions may be found there.      w
However, should you have any further questions in regards to this issue, please contact our Research Department at 800.241.9960.         ...<f.
Research Department works from Monday through Friday 9 AM to 5 PM ET. After speaking with our Research Department, if you                19
still have questions or concerns, please feel free to contact the OCWEN consumer advocate through OCWEN's website or by phone
                                                                                                                                         '"
at 800.390.4656. OCWEN consumer advocate works from 9 AM through 6 PM ET, Monday through Friday. You may also send
written correspondence to the following address:

                                                   Ocwen Loan Servicing, LLC
                                                  Attention: Research Department
                                                          P.O. Box 24736
                                                  West Palm Beach, FL 33416-4736
                                                    Fax Number: 407.737.6375
 NMLS # 1852                                                                                                      RRCMAINLTRM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely prOVided to
you for informational purposes only with regard to our secured lien on the above referenced property. It is not intended as an
attempt to collect a debt from you personally.
                                                             Page 2 of 3
       Case 0:18-cv-60418-UU Document 1 Entered on FLSD Docket 02/27/2018 Page 49 of 49




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~~~        GAITA & USZT P.L.
~          2701 NW 2ND AVE STE 107
           BOCA RATON FL 33431-6707
